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12                             UNITED STATES DISTRICT COURT

13                           NORTHERN DISTRICT OF CALIFORNIA

14                                    OAKLAND DIVISION

15   CALIFORNIA REINVESTMENT                      No. 4:19-cv-02572-JSW
     COALITION, NATIONAL ASSOCIATION
16   FOR LATINO COMMUNITY ASSET                   [PROPOSED] ORDER GRANTING
     BUILDERS, DEBORAH LYNN FIELD, and            PLAINTIFFS’ MOTION FOR
17   RESHONDA YOUNG,                              SUMMARY JUDGMENT
18                                  Plaintiffs,
19            v.
20   KATHLEEN L. KRANINGER, Director,
     Consumer Financial Protection Bureau,
21   In Her Official Capacity and CONSUMER
     FINANCIAL PROTECTION BUREAU,
22
                                  Defendants.
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 1                                            I.          INTRODUCTION
 2           Before the Court is Plaintiffs’ Motion for Summary Judgment against Defendants the
 3   Consumer Financial Protection Bureau (CFPB) and Kathleen L. Kraninger, in her official capacity as
 4   Director of the CFPB (collectively, Defendants). Plaintiffs have moved for summary judgment on

 5   Count I of their First Amended Complaint against Defendants under the Administrative Procedure

 6   Act, 5 U.S.C. § 706(1), for failing to prescribe rules implementing Section 1071 of the Dodd-Frank

 7   Wall Street Reform and Consumer Protection Act, Pub. L. No. 111-203, 124 Stat. 1376 (2010).

 8                                      II.         STANDARD OF REVIEW
 9           Under Federal Rule of Civil Procedure 56(a), summary judgment is appropriate when the

10   movant “shows that there is no genuine dispute as to any material fact and that the movant is entitled
11   to judgment as a matter of law.” The moving party bears the initial burden of showing the district
12   court “that there is an absence of evidence to support the nonmoving party’s case.” Celotex Corp. v.
13   Catrett, 477 U.S. 317, 325 (1986). The burden then shifts to the nonmoving party, which “must
14   establish that there is a genuine issue of material fact. . . .” Matsushita Elec. Indus. Co. v. Zenith
15   Radio Corp., 475 U.S. 574, 585 (1986). “Where the record taken as a whole could not lead a rational

16   trier of fact to find for the non-moving party, there is no ‘genuine issue for trial.’” Id. at 587.

17                                                 III.    DISCUSSION
18           Judicial relief from an agency’s failure to act is warranted where (1) the agency has a

19   mandatory duty to act and fails to do so, In re A Community Voice, 878 F.3d 779, 784 (9th Cir.

20   2017), and (2) consideration of the factors announced in Telecomms. Research and Action Center v.

21   FCC, 750 F.2d 70, 80 (D.C. Cir. 1984), favors relief. Here, CFPB is plainly subject to a mandatory

22   duty to prescribe regulations for the collection and publication of lending data pursuant to Section

23   1071, see 15 U.S.C. § 1691c–2(f), (g)(1), (3), and yet has failed to do so for more than eight years.

24   This lengthy delay is unreasonable and inadequately justified by the agency’s desire to pursue its

25   own discretionary policy preferences. Moreover, the delay has substantially injured the public,

26   including Plaintiffs, and effectively countermanded Congress’s direction to provide for the collection

27   and publication of these data, the importance of which CFPB has itself acknowledged. As the

28   Plaintiffs credibly testified in their sworn declarations, the delay has caused significant harms,
     [PROP.] ORDER GRANTING PLAINTIFFS’ MOTION FOR
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 1   including (but not limited to) increased time spent searching for a bank that will lend to small,

 2   women-owned, and/or minority-owned businesses, in the case of Ms. Field and Ms. Young; the need

 3   to conduct expensive proprietary research to make up for CFPB’s failure to collect and publish the

 4   required data, in the case of the National Association for Latino Community Asset Builders; and

 5   impairment of the ability to negotiate with banks to obtain investments in underserved communities,

 6   in the case of California Reinvestment Coalition.

 7           Accordingly, judicial relief is warranted and summary judgment is appropriate for Plaintiffs.

 8                                             IV.    CONCLUSION
 9           For the foregoing reasons, the Court’s ruling is as follows:

10           Plaintiffs’ motion for summary judgment against Defendants on Count I of Plaintiffs’ First

11   Amended Complaint is GRANTED.

12           Defendants are DIRECTED to publish in the Federal Register a final rule implementing

13   Section 1071 of the Dodd-Frank Act within six months of the date of this Order, and to submit status

14   reports to the Court every sixty days updating the Court and Plaintiffs on the status of progress with

15   respect to this rulemaking.

16           IT IS SO ORDERED.
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18   DATED: ________________

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                                                     HONORABLE JEFFREY S. WHITE
20                                                   UNITED STATES DISTRICT COURT JUDGE
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     [PROP.] ORDER GRANTING PLAINTIFFS’ MOTION FOR
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